                              NO. 07-11-00018-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL C
                                       
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MARCH 22, 2011
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                        RAMIRO CHAVIRA, SR., APPELLANT
                                       
                                      v.
                                       
                          DELORES CHAVIRA, APPELLEE 
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                 FROM THE 242ND DISTRICT COURT OF HALE COUNTY;
                                       
               NO. B37423-1008; HONORABLE EDWARD LEE SELF, JUDGE
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Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.


                              MEMORANDUM OPINION
	Appellant, Ramiro Chavira, Sr., an inmate proceeding pro se, filed a notice of appeal in trial court cause number B37423-1008 in the 242nd District Court of Hale County, Texas.  By letter dated January 24, 2011, the Clerk of this Court notified Chavira that, among other things, a filing fee of $175 had not been paid and warned that failure to do so within ten days could result in dismissal pursuant to Texas Rule of Appellate Procedure 42.3(c).  No fee having been received within the deadline, by letter dated February 17, 2011, Chavira was again advised of the outstanding filing fee and the consequences of failing to pay and was given until March 9 to comply.  See Tex. R. App. P. 44.3; see also Higgins v. Randall County Sheriff's Office, 193 S.W.3d 898, 899 - 900 (Tex. 2006) (holding that a court of appeals can dismiss an appeal for noncompliance only after allowing a reasonable time to correct a defect).  Despite two notices and a reasonable time in which to comply with this Court's directive, Chavira has failed to respond.  Consequently, this Court is authorized to dismiss this appeal.  See Tex. R. App. P. 5, 42.3(c). 
	Accordingly, we dismiss this appeal.  Further, all pending motions from the district clerk for extension of time in which to file the clerk's record are hereby denied as moot.
								Mackey K. Hancock
									Justice

	

